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                   United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 16-5188                                                 September Term, 2017
                                                                      1:15-cv-00045-RMC
                                                   Filed On: September 25, 2017 [1694412]
MetLife, Inc.,

                 Appellee

       v.

Financial Stability Oversight Council,

                 Appellee

Better Markets, Inc.,

                 Appellant

                                      MANDATE

      In accordance with the judgment of August 1, 2017, and pursuant to Federal
Rule of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Ken R. Meadows
                                                          Deputy Clerk




Link to the judgment filed August 1, 2017
